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  From:    Peter Mikkelsen ~~eter@blocktech.com
Subject;   CONTRACT_ELE~1_SIGNED_20190313.pdf
   Date:   March 13, 2019 at 7:48 AM America/Los_Angeles                              P
    70:    Nick Spanos ~ ~ick@biacktech.ca~n, Eric Dixon eric@blocktech.com
    Cc:    Elen Mikayelyan elen~blocktech.com

Signed contract attached

All the best

Attachments:
CONTRACT ELEN SIGNED 20190313.pdf(2.69 MB)




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                       1. CI~.NI;l2AL CONnITION5

     1.1. Thi ngree~~uz►tt t~c~~;ulair~; w„rk rolf~tionshi~~~ between il~~•
         Panties, stntrs rigl~ls uncl ubligu~iuns of the Pi~rtics tmd their
         ►~:spunsibilitius.
     1.2. Wick this A~rcctnent Providur obliged to do work designed
         in this Agrcrnicnt with respect of terms rind conditions
         dc~idud by t'I~~nl rind l'lirnt is ohligat to pay Provider 1'or
         This work.



     ~. ~~: ~~.~ ~cT or AcxEcmcrrr
     2.1. CliCnt hires Provider fbr the services of Business Analyst.
     2.2. The mRin tasks for the Provider are;
         - Administration,
         - R~gulntion of All acCivities within argAniz~tion and
             inc:rcuse their c(Ticicncy far company,
         - Event org~nizAtion and coordination.
                                                              the
           To do any comnuuid, order or decision related to
                                                 appointed man~bcr  of
              function of the provider from the
                                                       Mikkelsen ,
              the Director, in this case Peter GelArdi
             Director of business Developm~t~t and directly
              s~ibordinate to the orders ai'the manager.

                                                             Glicnt.
     2.3. The place of the work is the one sited by the

                                                         i
     3. 121Gt1'1~~ end U13LICA'1'IONS nl'thc NAIt't'll?t

     3.1. 'The Client had ti right to.




                                                                                E3TC003672
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      3.1.1. to requcst from the Provider to do hur work obligeHons
               on timu and in right mnnncr.
      3.1.2. ro dcfinc main conditions of Provider's work, deadlines,
               order and give tasks to be done.
       3,1.3. Rcqunst tram the Provider to do tasks not designed b
               current Agreement according the Legislation of RA an
                other Luws.
       3.1.4, In die case of change of production volumes and (oi
                economic and (or) rochnological and (or) labc
                conditions, to modify the essential conditions of work.
       3.1.5. In the manner prescribed by Inw, to subject the Provide
                to material responsibility, if she caused MatcriF
                Damage to the Client.
        3.1.6. Tv cwry out miy other right designed by the Civil Lav
                the Client's intcmnl n:gulations and current Agreement.



       3,2. Client obUged to:
       3.2.1. Provide the Provider with the tasks provided by 1
               Agreement end to organize its work, ensure safe a
               healthy working conditions.
       3.2.2. Pay the Provider's salary within the time and under 1
               terms stipulated by tMe current Agrcem~nt.



      3~. Provider has a right to:
      3.3. I, receive a remuneration for the work performed within the
               timcfmmc and in the prescribed amount provided by the
               Agreement,
      3.3.2. obtain information and explanations on the issues reltited
               to her activities, submit relevant documents and
               materials to the Client,
      333. without prejudice to the[cans end conditions provided by
               the Agreement, Client's internal regulations, other legal
               acts adopted by the Client, to work in other company,
      33.4. submit proposals ro the Client on the organization of his
               work,
      3.3.5. get acquainted with the internal and individual legal acts
               ofthe Client which are directly related to her work.

      3.4. Pro~~ider obl[ged to;
      3.4.1. faithfully fulfill the obligations undertaken under the
              Agreement, as well as the Client's instnictions arising
              from the Agreement and / or the Client's internal
              disciplinary rules and / or other internal and individual
              Icgal acts,
      3.4.2. maintain the ClienPs internal disciplinary rules, work
              discipline and do not allow working regime violations,
              perform working norms, maintain labor protection and
              safety requirements, as well as Provider's ethics rules,
      3.4.3. respect the property of the Client and other workers, as
              well as immediately inform the Client about possible




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                 dangers of the Client's property protection, the life ac
                 health of the workers,
         3.4.4. ensure the protection of any confidential information sl
                 is aware due to her work, otherwise she wiU face
                  penolty.
         3.4.5. execute iu duties personally and to instruct die oth
                  person in labor relations with the Client only with t
                  permission ofthe Client,
          3.4.6. in case of temporary disability, infom~ the Client on t
                  same day personally or person alliliated with her,
          3.4.7, execute the law, other legal oct.. internal discipline
                   rides and other obligations prescribed by the cum
                   Agreement.


           4.DUttATIU\ OIL ~G12EED-tENT

           4.1. The Agmmrm enters into force on 18A2.2019 and
               oprretcc h uwnths.
           3.2. Thr e~greemrnc cxn be terminated any time with 2] days
               ncuicc if there is a no need for services with forniing final
              :nt ~~n the scn~ces done.


           i.SALARY CONDITIONS

           5,1, The wage rate of a salary is S 105 per week, which at chi
               momen[ of signing the Agreement amounts to SI,I00 /fifty
               one thousand/ AMD according to the CBA rate. Ina
               i~lude tares!
           5.2. The wage is calculeteci every month anJ paid to th
               Provider at least once e month before the 15th day of th
               acxt month following the performtuice of the stipulated b
               law.'Che Client may pay a monthly salary of more than nn
               time, divide it within a month.
           $~, Salary will be paid in cash, with bank transfce or via digits
               azse~s to the bank account or wallet of the Provider.
           5.4. The work done by the Provider exceeding the working tier
               specified in the Agrcemcnt shall not be considered overtire
                work.
           5.5. The period of idle time and strike that arises as a result ~
               f~rcc majeurc, as well as by the Provider's fault in t}
               manner prescribed by the RA legislation, shall not be subje
                M payment.
           5.6. to ca~c of tarmineNon of the Agreement, the Client sha
                make a complete settlement with tl~e Provider by the date
                the Agrccmcnt termination. The Client pays the wage to tl
                smaunt of services Provider has performed by the day of tl
                final senlement.

           6.RESPONSIBILITY of the PARTIES




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   6.1. The Parries bear responsibility for non
                                                      -fulfillment
       improper fuifllment of their obligations under the genes
       procedure defined by the Swiss legislation.
   6.2. In case of inFlicting material damage to tlu Client
                                                                 as
       result of non-perfo►mance or improper perf'onnnnce of h
        job duties, the Provider shall be subjoct to disciplivai
        material and oilier liability io the manner prescribed by t
        curtent legislation of the counay of Swiuertand. Muter
        liability anscs when the Pro~~idcr fails or ~~»~m~o~
        perfomts her obligations.
    6.3. Payment of penalty does nut rclie~-c the PAniae Ilvm i
        talfillmc~n of their ohhga~i~m ~mdcr the Agn cmm~l.


    7. DICPCI! RR~Y)Ll`T10N
    7.1. In .aHe of a d~y~utc MetH~ti~n the parties. it shall be sut~i
        ~~~ rcsriu~ion tAn+ugh ditrct negotiations bcaveen the Cli
        and clrt Ilv~~~.
    ?.7_ li itc 1»putr tnw~~en the parties is not setNed, it shall
        wtHc•.v w nwiwwl mvicw in the manner prescribed by
        ~wn~ kgrslahon

   A Fi(~RCE~~iAJOR
   •.L The Pama hell Ne exempt from liability if it was the rcsu
      u(' rn ron~c-mayor ghat arose after the conclusion of th
      r~gsc~~ and wMch the Pnrtics could not anticipate and
      ur prcv~m~ In the event of a force majcurc, the Party whoa
      obligation will Aischarge the force mejeurc is oblige) t
      mWrm the otAer Party immediately.

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   ~miation received.

            Neither party makes any representation or warranty as to
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    10. Non-Circumvention
                                                                ent ~md
10.1           Commencing with Uw dnta of this Agreem
                                              conclusion of the
:ontinuing for tour(4) ycur~ following
                                                     ), neither party shall
 discussions(the "Non-circumvention Period"
                                                    g supplier, client,
 solicit any kind ot'business from any existin
                                                   other party, with whom
 ~ontect, invu~tor ~u stm~rgic partner of the
                                             p, in order to (i) circumvent
  hat party enjo~5 a business relationshi
                                              its supplier, customer,
  he relationship bM~reen that party and
       ror,.liens and~or  contact ,(ii) cause  the revocation or
  nvcs
              ot'that relatio nship; or (iii) otherw  ise compete with one
.nnmapon
  nochcr,  without  prior wrinen   authori zation.

   !2. FCNAL PROVISIONS
                                                                fnmi
             a, When signing the Agreement, the Provider is
                 with working conditions, disciplinary rules of
                 Client.
                                                                ent i
             b. Changes and additions to the current Agreem
                 be made solely by the Client in writing form. Th
                                                                   ed
                 amendments and supplements shall be enclos
                 the current Agreement and shall constitute
                                                                   n
                 integral part. In case of disagreement betwee
                                                                 te
                 Parties them, the Worker may termina
                 Agreement.
                                                    current Agreem
             c. The issues not stipulated by the
                                                         established
                 are being regulated by the procedure
                 the Swiss legislation.
                                                  of the Parties and
             d. The Agreement express consent
                                                     oral and writ
                 precedence over all previous
                 egrcements and contracts.
                                               disclose the terms a
             e. None of the Parties may
                          ns  of  the   Agreem  ent without the pr
                 conditio
                             the other party, except in cases prescrit
                 consent of
                 by law.
                                           resolve) in the cases and
             f. The Agreement may be
                     manner   prescri bed by the Swiss civil law
                 the




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                                                                 13. REQUISITES AND SIGNATURES OF7'HB
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